                                                                   Case 1:19-cr-00064-GHW Document 91 Filed 12/30/20 Page 1 of 2
                                                               Federal Register / Vol. 85, No. 53 / Wednesday, March 18, 2020 / Presidential Documents                             15337

                                                                                                 Presidential Documents



                                                                                                 Proclamation 9994 of March 13, 2020

                                                                                                 Declaring a National Emergency Concerning                                   the   Novel
                                                                                                 Coronavirus Disease (COVID–19) Outbreak


                                                                                                 By the President of the United States of America

                                                                                                 A Proclamation
                                                                                                 In December 2019, a novel (new) coronavirus known as SARS–CoV–2 (‘‘the
                                                                                                 virus’’) was first detected in Wuhan, Hubei Province, People’s Republic
                                                                                                 of China, causing outbreaks of the coronavirus disease COVID–19 that has
                                                                                                 now spread globally. The Secretary of Health and Human Services (HHS)
                                                                                                 declared a public health emergency on January 31, 2020, under section
                                                                                                 319 of the Public Health Service Act (42 U.S.C. 247d), in response to
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                                                                                                 COVID–19. I have taken sweeping action to control the spread of the virus

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                                                                                                 in the United States, including by suspending entry of foreign nationals




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                                                                                                 seeking entry who had been physically present within the prior 14 days
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                                                                                                 in certain jurisdictions where COVID–19 outbreaks have occurred, including




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                                                                                                 the People’s Republic of China, the Islamic Republic of Iran, and the
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                                                                                                 Schengen Area of Europe. The Federal Government, along with State and
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                                                                                                 local governments, has taken preventive and proactive measures to slow
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                                                                                                 the spread of the virus and treat those affected, including by instituting
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                                                                                                 Federal quarantines for individuals evacuated from foreign nations, issuing
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                                                                                                 a declaration pursuant to section 319F–3 of the Public Health Service Act
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                                                                                                 (42 U.S.C. 247d–6d), and releasing policies to accelerate the acquisition
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                                                                                                 of personal protective equipment and streamline bringing new diagnostic
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                                                                                                 capabilities to laboratories. On March 11, 2020, the World Health Organiza-
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                                                                                                 tion announced that the COVID–19 outbreak can be characterized as a pan-
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                                                                                                 demic, as the rates of infection continue to rise in many locations around
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                                                                                                 the world and across the United States.
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                                                                                                 The spread of COVID–19 within our Nation’s communities threatens to
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                                                                                                 strain our Nation’s healthcare systems. As of March 12, 2020, 1,645 people
                                                                                                 from 47 States have been infected with the virus that causes COVID–19.
                                                                                                 It is incumbent on hospitals and medical facilities throughout the country
                                                                                                     Fu




                                                                                                 to assess their preparedness posture and be prepared to surge capacity
                                                                                                 and capability. Additional measures, however, are needed to successfully
                                                                                                 contain and combat the virus in the United States.
                                                                                                 NOW, THEREFORE, I, DONALD J. TRUMP, President of the United States,
                                                                                                 by the authority vested in me by the Constitution and the laws of the
                                                                                                 United States of America, including sections 201 and 301 of the National
                                                                                                 Emergencies Act (50 U.S.C. 1601 et seq.) and consistent with section 1135
                                                                                                 of the Social Security Act (SSA), as amended (42 U.S.C. 1320b–5), do hereby
                                                                                                 find and proclaim that the COVID–19 outbreak in the United States con-
                                                                                                 stitutes a national emergency, beginning March 1, 2020. Pursuant to this
                                                                                                 declaration, I direct as follows:
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                                                                                                 Section 1. Emergency Authority. The Secretary of HHS may exercise the
                                                                                                 authority under section 1135 of the SSA to temporarily waive or modify
                                                                                                 certain requirements of the Medicare, Medicaid, and State Children’s Health
                                                                                                 Insurance programs and of the Health Insurance Portability and Account-
                                                                                                 ability Act Privacy Rule throughout the duration of the public health emer-
                                                                                                 gency declared in response to the COVID–19 outbreak.


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                                             15338             Federal Register / Vol. 85, No. 53 / Wednesday, March 18, 2020 / Presidential Documents

                                                                                                 Sec. 2. Certification and Notice. In exercising this authority, the Secretary
                                                                                                 of HHS shall provide certification and advance written notice to the Congress
                                                                                                 as required by section 1135(d) of the SSA (42 U.S.C. 1320b–5(d)).
                                                                                                 Sec. 3. General Provisions. (a) Nothing in this proclamation shall be construed
                                                                                                 to impair or otherwise affect:
                                                                                                   (i) the authority granted by law to an executive department or agency,
                                                                                                   or the head thereof; or
                                                                                                   (ii) the functions of the Director of the Office of Management and Budget
                                                                                                   relating to budgetary, administrative, or legislative proposals.
                                                                                                   (b) This proclamation shall be implemented consistent with applicable
                                                                                                 law and subject to the availability of appropriations.
                                                                                                    (c) This proclamation is not intended to, and does not, create any right
                                                                                                 or benefit, substantive or procedural, enforceable at law or in equity by
                                                                                                 any party against the United States, its departments, agencies, or entities,
                                                                                                 its officers, employees, or agents, or any other person.
                                                                                                 IN WITNESS WHEREOF, I have hereunto set my hand this thirteenth day
                                                                                                 of March, in the year of our Lord two thousand twenty, and of the Independ-
                                                                                                 ence of the United States of America the two hundred and forty-fourth.




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